                  Case 2:18-mj-00029-KJN Document 13 Filed 08/22/18 Page 1 of 1
                                     IN THE UNITED STATES DISTRICT COURT
                                        EASTERN DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA,

                               Plaintiff,

                       v.                                 2:18-MJ-0029 KJN

ANTHONY ANDREW ZAMARRON, ET AL.

                              Defendants.

                                APPLICATION FOR WRIT OF HABEAS CORPUS
             The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
                        ☒ Ad Prosequendum                                   ☐ Ad Testificandum
 Name of Detainee:     Anthony Andrew Zamarron
 Detained at           Ely State Prison
 Detainee is:          a.)     ☒ charged in this district by: ☐ Indictment ☐ Information ☒ Complaint
                                  charging detainee with: 18 U.S.C. § 2, 1344 (1) and (2) et sec.
                  or   b.)     ☐ a witness not otherwise available by ordinary process of the Court

 Detainee will:        a.)       ☐ return to the custody of detaining facility upon termination of proceedings
                  or   b.)       ☒ be retained in federal custody until final disposition of federal charges, as a sentence
                                  is currently being served at the detaining facility

                       Appearance is necessary [FORTHWITH] in the Eastern District of California.

                       Signature:                                /s/MICHELLE RODRIGUEZ
                       Printed Name & Phone No:                  Michelle Rodriguez 916-554-2700
                       Attorney of Record for:                   United States of America

                                            WRIT OF HABEAS CORPUS
                            ☒ Ad Prosequendum                   ☐ Ad Testificandum

         The above application is granted and the above-named custodian, as well as the United States Marshal's Service
for this district, is hereby ORDERED to produce the named detainee, [FORTHWITH], and any further proceedings to be
had in this cause, and at the conclusion of said proceedings to return said detainee to the above-named custodian.

 Dated:    August 22, 2018
                                                              Honorable Edmund F. Brennan
                                                              U.S. MAGISTRATE JUDGE
Please provide the following, if known:
 AKA(s) (if                                                                               ☒Male      ☐Female
 Booking or CDC #:      1197998                                                           DOB:       09/19/1980
 Facility Address:      4569 N. State Route 490, Ely, NV 89301                            Race:      Hispanic
 Facility Phone:        775-289-8800                                                      FBI#:
 Currently              Ely State Prison

                                                  RETURN OF SERVICE
 Executed on:
                                                              (signature)
